Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

 

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known) Chapter 1

 

CJ Check if this an amended
filing

 

 

Official Form 201
Voluntary Petition for Non-individuals Filing for Bankruptcy 04/20

 

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name 975 Walton Bronx LLC

 

2. Allother names debtor
used in the last 8 years

include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal Employer
identification Number XX-XXXXXXX

 

 

 

 

(EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of

business
1449 37th St

5712 New Utrecht Ave Ste 608

Brooklyn, NY 11219-4633 Brooklyn, NY 11218-4381

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code

Ki gs Location of principal assets, if different from principal

County place of business

Bronx, New York
Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL)

 

 

6. Type of debtor Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
(] Partnership (excluding LLP)
C1 Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-Individuais Filing for Bankruptcy page 1

 
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Case number (if knawn)

 

 

Debtor 975 Walton Bronx LLC
Name
7. Describe debtor's business A. Check one:

[1] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Ei Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
( Railroad (as defined in 11 U.S.C. § 101(44))

C1 Stockbroker (as defined in 11 U.S.C. § 101(83A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

(J Clearing Bank (as defined in 11 U.S.C. § 781(3))

CJ None of the above

B. Check aif that apply
C1] Tax-exempt entity (as described in 26 U.S.C. §501)
(J Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)

Oo investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

Cc. NAICS (North American industry Classification System) 4-digit code that best describes debtor.

See htto:/Avww.uscourts .qov/four-digit-national-association-naics-codes.

 

 

 

 

 

 

§313
8. Under which chapter ofthe Check one:
Bankruptcy Code is the
debtor filing? Cy Chapter 7
[J Chapter 9
A debtor who is a “small EZ Chapter 11. Check aif that apply.
posmess debtor" Toe im [The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
defined in § 11 82(1) who noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
elects to proceed under $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
subchapter V of chapter 11 cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
(whether or not the debtor is a procedure in 11 U.S.C. § 1116(1){B).
“small business debto?) must (0 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), ils aggregate noncontingent liquidated debts
check the second sub-box. {excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
[A plan is being filed with this petition.
Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment fo Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11 (Official
Form 201A) with this form.
{1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
CJ Chapter 12
9. Were prior bankruptcy EB No.
cases filed by or against the
debtor within the last 8 Cl] ves.
years?
if more than 2 cases, attach a a
separate list. District When Case number
District When Case number
10. Are any bankruptcy cases EANo
pending or being filed by a
business partner or an C1 Yes.
affiliate of the debtor?
List all cases. 1f more than 1, . .
attach a separate list Debtor Relationship
District When Case number, if known

 

 

Official Form 201

Voluntary Petition for Non-individuals Filing for Bankruptcy page 2

 
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Debtor §=975 Walton Bronx LLC

Name

11. Why is the case filed in
this district?

Case number (if known)

 

Check ail that apply:

Es Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

( A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

E@ No
CO yes.

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)
(11 it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

CJ tt needs to be physically secured or protected from the weather.

[7 it includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

(2 Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?
[No

[i Yes. Insurance agency

 

Contact name

 

Phone

 

 

| Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:
C1 Funds will be available for distribution to unsecured creditors.

EB after any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14, Estimated number of Ei 1-49 D 1,000-5,000 3 25,001-50,000
creditors 1 50-99 [) 5001-10,000 (1 50,001-100,000
C1 100-199 C 10,001-25,000 [I More than100,000
1 200-999
15. Estimated Assets [J $0 - $50,000 [1] $1,000,001 - $10 million () $500,000,001 - $1 billion

[1 $50,001 - $100,000
[2 $100,001 - $500,000
C1 $500,001 - $1 million

EZ $10,000,001 - $50 million
C1 $50,000,001 - $100 miltion
Cl $100,000,001 - $500 million

CJ $1,000,000,004 - $10 billion
C2] $10,000,000,001 - $50 bition
CJ More than $50 billion

 

16. Estimated liabilities

[7 $0 - $50,000

(1 $50,001 - $100,000
($100,001 - $500,000
(1) $500,001 - $1 million

C1 $1,000,001 - $10 million

i $10,000,001 - $50 million
(J $50,000,001 - $100 million
CI $100,000,001 - $500 million

C1 $500,000,004 - $4 billion

7) $1,000,000,001 - $10 billion
(1 $10,000,000,001 - $50 billion
(] More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor 975 Walton Bronx LLC Case number (if known)

 

Name

   

Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behaif of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on February 24, 2021

 

 

MM /DD/YYYY
X is! David L. Smith, Esq. David L. Smith, Esq.
Signature of authorized representative of debtor Printed name

Tite Manager

 

X Isl Date February 24, 2024

18. Signature of attorney
Signaturé of attorney for debtor MM/DDIYYYY

 

 

Kevin J. Nash
Printed name

Goldberg Weprin Finkel Goldstein LLP
Firm name

1501 Broadway 22nd Floor
New York, NY 10036
Number, Street, City, State & ZIP Code

Contact phone (212) 221-5700 Email address knash@ guiglaw ~com

 

Bar number and State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

975 WALTON BRONX LLC
COMPANY RESOLUTION IN SUPPORT OF CHAPTER 11 FILING

WHEREAS, the corporate affairs of 975 Walton Bronx LLC (the “Company”) are
governed by certain Second Amended and Restated Operating Agreement (the “Operating

Agreement”); and

WHEREAS, in accordance with the Operating Agreement, a series of special meetings of
the Company having been called and convened with the last occurring on February 24, 2021, and
upon motion duly made and carried, the following resolutions were adopted:

RESOLVED, that David L. Smith is designated as the manager
and restructuring officer of the Company for purposes of filing and
prosecuting the Chapter 11 filing on behalf of the Company;

RESOLVED, the Company is authorized to file a voluntary
petition for relief under Chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”), in the United States Bankruptcy
Court for the Eastern District of New York; and it is further

RESOLVED, David L. Smith is authorized to act on behalf of the
Company to (a) execute the Chapter 11 petition and all other
related papers, and other documents, and cause the same to be filed
with the Bankruptcy Court; (b) cause the Company to file all
schedules, statements, lists, motions, applications and other papers
necessary or desirable to prosecute the Chapter 11 case and
achieve confirmation of a plan of reorganization; and (c) pursue a
restructuring of the Company’s debts and obligations; and it is
further

RESOLVED, that the Company is authorized to retain the law
firm of Goldberg Weprin Finkel Goldstein LLP as counsel in the
Chapter 11 case under a general retainer.

Dated: New York, New York

February 25, 2021
975 WALTON BRONX LLC

By: THE J PARTNERS GROUP LLC,
Managing Member

By:  /s/ David L. Smith
David L. Smith
Authorized Signatory
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Chapter 11

975 Walton Bronx LLC, Case No.

Debtor.
x

 

DEBTOR’S DECLARATION
PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2

David L. Smith declares the following under penalties of perjury pursuant to 28

U.S.C. § 1746:

1, I have been engaged by the Debtor, 975 Walton Bronx LLC (the
“Debtor’”) to act as the Company’s non-member manager and restructuring officer for purposes

of pursuing the Debtor’s debt restructuring efforts in connection with the commencement of this

Chapter 11 case.

2. I respectfully submit this Declaration in accordance with Local
Bankruptcy Rule 1007-2 in support of the Debtor’s filing of a voluntary petition under Chapter
11 of Title 11 of the United States Code (the “Bankruptcy Code”).

Events Necessitating the Chapter 11 Filing

3. The Debtor is a New York limited liability company which primarily
owns a multi-family residential apartment building at 975 Walton Avenue, Bronx, NY
containing approximately 182 apartments and approximately five (5) commercial leases
including a cell tower (the “Building”). The Building was acquired by Debtor in or about 2015
with certain acquisition and mortgage financing provided by Investors Bank (“Investors”) in the

principal sum of $22.5 million (the “Mortgage”).

 
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4. For many years, the Debtor was able to regularly service the mortgage
debt without default. However, with the onset of the Covid-19 pandemic in March, 2020, the
Debtor witnessed an interruption in the collection of rents. Cognizant of the impact of the
current Covid-19 environment, the Debtor’s sought a forbearance or modification from Investors
including a moratorium in monthly payments. At various points, the Debtor was hopeful that
Investors would be acceptable to a negotiated restructuring of the Mortgage and was
disheartened to learn that Investors recently sold and assigned the Mortgage to a private investor,
Walton Improvement Group LLC (“Walton Group”), on or about October 30, 2020.

5. Walton Group thereafter declared an acceleration of the entire debt on
December 1, 2020 seeking to enforce defaults retroactive to the start of the pandemic in March
2020. That Walton Group is seeking to retroactively declare an acceleration suggests that the
Mortgage is now held by a note buyer which appears intent on attempting to wrestle control of
the Building from the Debtor and effectively capitalize on the pandemic.

6. Indeed, Walton Group has recently commenced a foreclosure action
triggering the Debtor’s need to seek Chapter 11 relief to maintain the status quo while revenue
efforts at restructuring are pursued. The value of the Building is flux due to the Covid-19
pandemic with true amount depending on the level of NOI in juxtaposition to a proper cap rate.
The Debtor’s schedules list a range of values since cap rates are rising in today’s environment
which diminishes overall value.

7. However, the Building is worth attempting to save. The Chapter 11 offers
the best path forward for a restructuring and allows the Debtor the opportunity to extend the
mortgage debt under revised post-confirmation interest rates or the ability to cure the arrears and

reinstate the original debt. The Debtor has several creditors, and this is not a two-party dispute.
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Besides the Mortgage, the Building is also subject to a judgment entered in favor of Thor 975
Walton LLC (“Thor”) on August 25, 2020 in the sum of $2,600,290 relating to pre-petition
contract disputes. Thor has also noticed a judgment sale for March 10, 2021.

Local Rule 1007-2 Disclosures

8. Pursuant to Local Rule 1007-2(a)(3), no committee of creditors was
formed prior to the filing of the Petition.

9. Pursuant to Local Rule 1007-2(a)(4), a list of the Debtor’s twenty largest
creditors is included as part of the Debtor’s bankruptcy schedules.

10. Pursuant to Local Rule 1007-2(a)(5), Walton Group is the Debtor’s lead
secured creditor and Thor 975 Walton Avenue LLC likely holds an undersecured judgment (in
whole or part).

11. Pursuant to Local Rule 1007-2(a)(6), the Debtor’s assets and liabilities are

set forth in the accompany bankruptcy schedules.

12 Pursuant to Local Rule 1007-2(a)(7), the membership interests of the

Debtor are primarily held by the J Partners Group LLC.

13. Pursuant to Local Rule 1007-2(a)(8), none of the Debtor’s assets are in the

possession of a custodian, receiver, mortgagee, or assignee of rents.

14. Pursuant to Local Rule 1007-2(a)(9), the Debtor owns the Building at 975

Walton Avenue, Bronx, NY.

15. Pursuant to Local Rule 1007-2(a)(10), the Debtor’s books and records are

located at its business offices in Brooklyn.

16. Pursuant to Local Rule 1007-2(a)(11), a list of pending lawsuits is

attached to the petition.

Go
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

17. Pursuant to Local Rule 1007-2(a)(12), I am the current Manager and
restructuring officer of the Debtor.

18. Pursuant to Local Rule 1007-2(b)(1), the Debtor maintains a monthly
payroll of approximately $10,000.00 based on a reduced union workforce of two employees.
The Debtor previously maintained four employees and recently terminated two individuals.

19. The Building generates total rents of approximately $232,000 per month
and expenses of approximately $178,000 per month without debt service.

Dated: New York, New York
February 24, 2021

/s/ David L. Smith
David L. Smith, Manager
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
In re:
975 Walton Bronx LLC,
Debtor.
----X
LIST OF LAWSUITS

1. 975 Walton Bronx LLC v Thor 975 Walton Avenue LLC
Supreme Court of the State of New York, Bronx County
Index No. 21464/2018E
Breach of Contract

Attorneys for Defendant:
Joseph Matalon, Esq.

450 Seventh Avenue, 33
BY, BY 10123

Floor

2. Leroy Sookdeo v. 975 Walton Bronx LLC
Supreme Court of the State of New York, Bronx County
Index No. 30018/2019E
Tort

Attorneys for Plaintiff

Ivan Diamond, Esq.

888 Grand Concourse, Suite 1-L
Bronx, NY 100451

Shinelle Sookdeo v. 975 Walton Bronx LLC

Supreme Court of the State of New York, Bronx County
Index No. 34656/2019E

Tort

wo

Attorneys for Plaintiff
Rubenstein & Rynecki

16 Court Street, Suite 1717
Brooklyn, NY 11241

Chapter 11

Case No.
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

. Estella Jones v. 975 Walton Bronx LLC
Supreme Court of the State of New York, Bronx County
Index No. 31539/2019E
Tort

Attorneys for Plaintiff
Mitchell Silbowitz, Esq.

25 West 43" Street, Suite 722
New York, NY 10036

. 975 Walton Bronx LLC v. Stephanny Perez
Bronx County Civil Court
Index No. LT-004021-19BX
Nonpayment of rent

Attorneys for Defendant
No appearance

975 Walton Bronx LLC v. Pansy Vassell
Bronx County Civil Court

Index No. LT-028058-19BX
Nonpayment of rent

Attorneys for Defendant
No appearance

. 975 Walton Bronx LLC v. Luz Marie DeJesus
Bronx County Civil Court
Index No. LT-040437-19BX
Nonpayment of rent

Attorneys for Defendant
No appearance

. Walton Improvement Group LLC v. 975 Walton Bronx, LLC, et al.
Supreme Court, County of Bronx
Index No. 802465/2021E
Mortgage Foreclosure

Attorneys for Plaintiff
Parker Ibrahim & Berg LLP
Ben Z. Raindorf, Esq.

5 Penn Plaza, Suite 2371
New York, New York 10001
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Dated: New York, New York
February 24, 2021
975 Walton Bronx LLC

By:  /s/ David L. Smith
David L. Smith, Manager

 

wo
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

In re: Chapter 11
975 Walton Bronx LLC, Case No.
Debtor.
X
LIST OF EQUITY HOLDERS

25-32 Crooke LLC 1.01%

The J Partners Group LLC 49.99%

Balance comprising treasury stock 49.00%

Dated: New York, New York

February 24, 2021
975 Walton Bronx LLC

By:  /s/ David L. Smith

David L. Smith, Manager
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Chapter 11

975 Walton Bronx LLC, Case No.

Debtor.

 

Xx
BANKRUPTCY RULE 7007.1 CORPORATE OWNERSHIP STATEMENT
Pursuant to Bankruptcy Rule 7007.1, 975 Walton Bronx LLC certifies that it is a

private non-governmental party, and has no corporate parent, affiliates and/or subsidiaries which

are publicly held.

Dated: New York, New York

February 24, 2021
975 Walton Bronx LLC

By:  /s/ David L. Smith
David L. Smith, Manager
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

_ | -Fillin this information to identify the case:
Debtor name {975 Walton Bronx LLC
United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW [ Check if this is an

YORK, BROOKLYN DIVISION
Case number (if known): amended filing

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and

Are Not Insiders 42/15

A list of creditors holding the 20 largest unsecured claims must be filed ina Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

Name of creditor and Name, telephone number | Nature of claim Indicate if.claim | Amount of claim

complete mailing address,:| and email address of (for example, trade debts, | is contingent, | ff the claim is fully unsecured, fill.in only. unsecured claim amount. If

including zip code 4 creditor contact bank loans, professional. | unliquidated, or. | claim is partially secured, fill in total claim amount and.deduction for
: : services, and government disputed value of collateral or setoff to calculate unsecured claim.

contracts) Total clairn, if Deduction for value | Unsecured claim
: : partially secured of collateral or setoff
Belkin Burden Unliquidated $0.00
Wenig & Goldman,
LLP

270 Madison Ave #
5

New York, NY
10016-0601

Boro Water Unliquidated $0.00
Services

5713 11th Ave
Brooklyn, NY
11219-4508
Bug A Boo Inc. $3,190.04
PO Box 140337
Staten Island, NY
10314-0337
Correcttemp Inc.
1463 E 15th St
Brooklyn, NY
11230-6601
Estella Jones Unliquidated $0.00
clo Mitchell Disputed
Silbowitz, Esq.

25 W 43rd Steet Ste
711

New York, NY 10001
G Bauer Inc.

1624 Webster Ave
Bronx, NY
10457-8016
Goodstein PLLC $2,500.00
5018 G St
Tacoma, WA
98405-4715

 

 

 

 

 

$2,081.69

 

 

$5,819.37

 

 

 

 

 

 

 

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Whe Have the 20 Largest Unsecured claims page 1

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor
Name

975 Walton Bronx LLC

Case number (if known)

 

 

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade debts,
bank loans, professional
services, and government

Indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

ifthe claim is fully unsecured, fill in only. unsecured claim amount. If
claim is partially secured, fill in total claim amount and deduction for
value-of collateral or setoff to calculate unsecured claim.

 

Total claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

Green & Cohen,
P.C.

319 E 91st St
New York, NY
10128-5348

$470.50

 

Jacobowitz
Newman Tversky
LLP

372 Pearsall Ave
Ste c
Cedarhurst, NY
11516-1816

$2,374.50

 

JD Environmental
Corp.

5014 16th Ave
Brooklyn, NY
11204-1404

$1,800.00

 

JD Lead
1973 52nd St
Brooklyn, NY
11204-1732

$3,800.00

 

Joe and Sons
145 Main Ave
Passaic, NJ
07055-5452

$150,000.00

 

Leroy Sookdeo
c/o lvan Diamond,
Esq.

888 Grand
Concourse Ste 1-L
Bronx, NY
10451-2802

Unliquidated
Disputed

$0.00

 

Millennium Elevator
Enterprises Inc.
2618 Avenue Z
Brooklyn, NY
11235-2052

$22,923.55

 

Mizrahi Law Offices,
LLC

PO Box 3254
Teaneck, NJ
07666-9105

$3,845.00

 

NYC Water Board
PO Box 11863
Newark, NJ
07101-8163

 

 

 

 

 

 

 

$396,951.92

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor
Name

975 Waiton Bronx LLC

Case number (if known)

 

 

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor. contact ..

Nature of.claim

{for example, trade debts,
bank loans, professional
services, and government

Indicate if claim
is contingent,
unliquidated, or.

disputed

Amount of claim

{f the claim is fully unsecured, fill in only unsecured claim amount. If
claim is partially secured, fill.in.total claim amount and deduction for
value of.collateral or setoff.to calculate unsecured claim.

 

“4 Total claim, if

partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

NYS Dep't of
Taxation
Bankruptcy/Special
Procedure

PO Box 5300
Albany, NY
12205-0300

Tae

Unliquidated

$0.00

 

Shinelle Sookdeo
clo Rubenstein &
Rynecki

16 Court St Ste 1717
Brooklyn, NY
11241-1017

Unliquidated
Disputed

$0.00

 

SR Construction
USA Inc.

460 Macdonough St
#A

Brooklyn, NY
11233-1510

$2,450.00

 

Yardi Systems Inc.
PO Box 82572
Goleta, CA
93118-2572

 

 

 

 

 

 

 

$9,708.45

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtorname 975 Walton Bronx LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)
(0 Check if this is an

amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 1215

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

and 3571.

nd Declaration and signature

1 am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets-Real and Personal Property(Official Form 206A/3)
Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)

Other document that requires a declaration

 

OOO BR ee

 

i declare under penalty of perjury that the foregoing is true and correct.

Executedon February 24, 2021 X js! David L. Smith, Esq.
Signature of individual signing on behalf of debtor

David L. Smith, Esq.
Printed name

Manager
Position or relationship to debtor
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtorname 975 Walton Bronx LLC

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)
C1 Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12/15

 

 

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. in Schedute A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivatents?

 

CI No. Go to Part 2.

EB Yes Fill in the information below.
All cash or cash equivafents owned or controlled by the debtor Current value of
debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

3. Checking, savings, money market, or financial brokerage accounts (identify all}
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. Investor Bank Operating unknown
Third Party
3.2. Signature Bank Management Account $371,888.00
4, Other cash equivalents (identify all)
5. Total of Part 4. $371,888.00
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total fo line 80.
Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
CI No. Go to Part 3.
Ei Yes Fill in the information below.
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
7.1. Con Edison $44,170.00
7.2. Investors Bank - tenant security deposits $173,124.74
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Debtor 975 Walton Bronx LLC Case number (if known)
Name
8. ——- Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of holder of prepayment

 

9. Total of Part 2. $217,294.74
Add lines 7 through 8. Copy the total to line 81.

 

 

 

 

    

zee, Accounts receivable
10. Does the debtor have any accounts receivable?

 

CI No. Go to Part 4.
EB Yes Fill in the information below.

 

 

 

11. Accounts receivable
11a. 90 days old or less: 753,614.47 - 0.00 =... $753,614.47
face amount doubtful or uncollectible accounts
42. Total of Part 3. $753,614.47
Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 

 

Investments
13. Does the debtor own any investments?

EB No. Go to Part 5.
(J Yes Fill in the information below.

imcutsseeee, Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

EB No. Go to Part 6.
(CJ Yes Fill in the information betow.

Peace | Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

EB No. Go to Part 7.
CI Yes Fill in the information below.

uve Office furniture, fixtures, and equipment; and collectibies
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

EB No. Go to Part 8.
(1 Yes Fill in the information below.

fecieoe | Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

[I No. Go to Part 9.
Ei Yes Fill in the information below.

General description Net book value of Valuation method used Current value of
Include year, make, model, and identification numbers (i.e., debtor's interest for current value debtor's interest
VIN, HIN, or N-number) (Where available)

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Debtor 975 Walton Bronx LLC Case number (if known)
Name

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

48. Watercraft, trailers, motors, and related accessories Examples. Boats, trailers, motors, floating

homes, personal watercrait, and fishing vessels

 

 

 

49. Aircraft and accessories
50. Other machinery, fixtures, and equipment (excluding farm

machinery and equipment)

Janitorial Equipment/Supplies $5,000.00 $5,000.00
51. Total of Part 8. $5,000.00

 

 

 

Add lines 47 through 50. Copy the total to line 87.

 

52. ts a depreciation schedule available for any of the property listed in Part 8?

EA No
Cl Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

Ei No
Cl Yes

f= Real property
§4. Does the debtor own or lease any real property?

 

[J No. Go to Part 10.
EB Yes Fil in the information below.

55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and extent —_ Net book value of Valuation method used Gurrent value of

   
   

S of debtor's

debtor's interest for current value —- debtor's interest
“(Where available) noe tts vat

            

property (for example,
factory, warehouse, apartment or
office building, if available.

55.1. 975 Walton Ave,

 

 

 

 

 

Bronx, NY Fee TBD Income approach $13-20 million
10452-9512 a
56. Total of Part 9. $0.00
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.

 

Copy the total to line 88.

57. is a depreciation schedule available for any of the property listed in Part 97
Ef No
C1 Yes

58, Has any of the property listed in Part 9 been appraised by a professional within the last year?

EA No
C] Yes

  

intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor 975 Walton Bronx LLC Case number (if known)

  

70,

Name

El No. Go to Part 11.
(I Yes Fill in the information below.

All other assets

Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

CI No. Go to Part 12.
EB Yes Fill in the information below.

 

 

Current value of
debtor's interest

 

 

 

 

 

 

 

7A. Notes receivable

Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit
has been filed)

75. Other contingent and unliquidated claims or causes of action of

: every nature, Including counterclaims of the debtor and rights to

set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets,
country club membership
Insurance Claim $400,060.00
Con Ed Credit $75,000.00

78. Total of Part 11. $475,000.00
Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
I No
Cl Yes

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

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Debior 975 Walton Bronx LLC Case number (if known)

 

In Part 12 copy ail of the totals from the earlier parts of the form

Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Name

Summary

 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of property. Current value of Current value of real
a personal property 9 property
80. Cash, cash equivalents, and financial assets.
Copy line 5, Part 1 , $371,888.00
81. Deposits and prepayments. Copy line 9, Part 2. $217,294.74
82. Accounts receivable. Copy line 12, Part 3. $753,614.47
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy line 23, Part 5. $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7. $0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $5,000.00
88. Real property. Copy line 56, Part 9........cccceeseseseesessesesesneneanseneenssreneneseneaescenenensseraneaeaceeend > $0.00
89. intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy line 78, Part 17. + $475,000.00
91. Total. Add lines 80 through 90 for each column $1,822,797.21 + 91b. $0.00
92. Total of all property on Schedule A/B. Add lines 91a+91b=92 $1,822,797.21
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 5

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor name

975 Walton Bronx LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)
(1 Check if this is an

amended filing

 

 

Official Form 206D
Schedule D: Creditors Whe Have Claims Secured by Property

Be as complete and accurate as possible.

12/15

1. Do any creditors have claims secured by debtor's property?
(J No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

EE Yes. Fill in all of the information below.

 

= List Creditors Who Have Secured Claims

Column A

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured

claim, list the creditor separately for each claim.

 

 

 

 

Amount of claim

Column B

Value of collateral
that supports this

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do not deduct the value claim
of collateral.
24 Thor 975 Walton Avenue
“Tete Describe debtor's property that is subject to a lien $2,600,290.00 $0.00
Creditors Name 975 Walton Ave, Bronx, NY 10452-9512
clo Joseph Matalon, Esq.
450 7th Ave FI 33
New York, NY 10123-0083
Creditors mailing address Describe the lien
Is the creditor an insider or related party?
EE No
Creditors email address, if known QO Yes
is anyone else liable on this claim?
Date debt was incurred EE no
CD ves. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
CI No a Contingent
El Yes. Specify each creditor, C uUniiquidated
including this creditor and its relative Disputed
priority.
1. Walton Improvement
Group LLC
2. Thor 975 Walton Avenue
LLC
22 Walton Improvement
“| Group LLC Describe debtor's property that is subject to a lien $21,000,000.00 $0.00
Creditors Name 975 Waiton Ave, Bronx, NY 10452-9512
5676 Riverdale Ave Ste 307
Bronx, NY 10471-0403
Creditors mailing address Describe the fien
Is the creditor an insider or related party?
EE No
Creditor's email address, if known O Yes
Is anyone else liable on this claim?
Date debt was incurred Clno
EB Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor 975 Walton Bronx LLC Case number (f known)

 

Name

Last 4 digits of account number

 

Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply

LI No EE Contingent

EB ves. Specify each creditor, EB Unliquidated

including this creditor and its relative

priority. a Disputed

1. Walton Improvement

Group LLC

2. Thor 975 Walton Avenue

LLC

 

 

 

$23,600,290.
00

3, Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.

 

 

 

 

List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did you Last 4 digits of
enter the related creditor? account number for
this entity

 

Ben Z. Raindorf, Esq.

Parker Ibrahim & Berg LLP Line_2.2
5 Penn Plz Ste 2371

New York, NY 10001-1810

 

Official Form 206D Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property page 2 of 2

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

975 Walton Bronx LLC

Debtor name

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)
C1 Check if this is an

amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets ~ Real and
Persona! Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

 

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

TI No. Go to Part 2.

i Yes. Go toline 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. if the debtor has more than 3 creditors with
priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

 

 

 

 

Total claim Priority amount

Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00

Internal Revenue Service Check ail that apply.

Centralized insolvency Operations C1 Contingent

PO Box 7346 2 Uniiquidated

Philadelphia, PA 19101-7346 Bl pisputed

Date or dates debt was incurred Basis far the claim:

Last 4 digits of account number is the claim subject to offset?

Specify Code subsection of PRIORITY EB no

unsecured claim: 11 U.S.C. § 507(a) (8)

Clyes

Priority creditor's name and mailing address As of the petition filing date, the claim is: $0.00 $0.00

NYC Dep't of Finance Check all that apply.

Legal Affairs 1D Contingent

345 Adams St FI 3 EB unliquidated

Brooklyn, NY 11201-3719 (9 Disputed

Date or dates debt was incurred Basis for the claim:

Last 4 digits of account number is the claim subject to offset?

Specify Code subsection of PRIORITY Ei no

unsecured claim: 11 U.S.C. § 507(a)} (8)

Cl ves

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 5

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G28617
Case 1-21-4040 /-JMM

Debtor 975 Walton Bronx LLC

Name
Priority creditor's name and mailing address
NYS Dep't of Taxation
Bankruptcy/Special Procedure
PO Box 5300
Albany, NY 12205-0300

 

Date or dates debt was incurred

Doc Ll Filed O¢/eo/zl entered O4iZo/21 14iolicg

Case number (f known)

 

As of the petition filing date, the claim is: $0.00 $0.00
Check ail that apply.

a Contingent

BZ Unliquidaied

O Disputed

Basis for the claim:

 

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

ts the claim subject to offset?
No
Cl Yes

 

 
  

out and attach the Additional Page of Part 2.

List All Creditors with NONPRIORITY Unsecured Claims
List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

Amount of claim

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $0.00
Belkin Burden Wenig & Goldman, LLP (9 Contingent
; EB unliquidated
270 Madison Ave # 5 ( Disputed
New York, NY 10016-0601
Date(s) debt was incurred __ Basis forthe claim: __
Last 4 digits of account number Is the claim subject to offset? Elno Olves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Boro Water Services CJ contingent
5713 11th A EE Untiquidated
ve Ooi
Disputed
Brooklyn, NY 11219-4508 m
Date(s) debt was incurred __ Basis for the claim: _.
Last 4 digits of account number _ is the claim subject to offset? Elo Cl yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $3,190.04
- Bug A Boo Inc. (J contingent
(CJ unliquidated
PO Box 140337 (1 pisputed
Staten Island, NY 10314-0337
. Basis for the claim: _
Date(s) debt was incurred __
Last 4 digits of account number _ Is the claim subject to offset? Einc Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $2,081.69
Correcttemp Inc. C1 contingent
0 Unliquidated
1463 E 15th St 0 pisputed
Brooklyn, NY 11230-6601
Basis for the claim:
Date(s) debt was incurred _ _
Last 4 digits of account number Is the claim subject to offset? Hino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Estella Jones C1 contingent
clo Mitchell Silbowitz, Esq. BB Uniiquidated
25 W 43rd Steet Ste 711 El pisoutea
New York, NY 10001 ispute
Date(s) debt was incurred _ Basis for the claim: __
Last 4 digits of account number _ Is the claim subject to offset? Eino Clyes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of §

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor 975 Walton Bronx LLC

Case number (f known)

 

 

 

 

 

 

 

 

 

 

Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply $5,819.37
G Bauer Inc. C1 contingent
[1 untiquidated
1624 Webster Ave 1 Disputed
Bronx, NY 10457-8016
Basis for the claim:
Date(s) debt was incurred __ asis Forine claim: _
Last 4 digits of account number __ Is the claim subject to offset? EZno Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,500.00
Goodstein PLLC CI contingent
C1] untiquidated
501 SG St Cl Disputed
Tacoma, WA 98405-4715
Basis for the claim:
Date(s} debt was incurred _ sto mn .
Last 4 digits of account number _ is the claim subject to offset? 2 No Cl yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $470.56
Green & Cohen, P.C. [J contingent
oO Unliquidated
319 E 91st St oO Disputed
New York, NY 10128-5348
. Basis for the claim:
Date(s) debt was incurred __ ~
Last 4 digits of account number _ is the claim subject to offset? Eino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim fs: Check al! that apply. $2,374.50
Jacobowitz Newman Tversky LLP CJ contingent
C] untiquidated
372 Pearsall Ave Ste C Dl pisputea
Cedarhurst, NY 11516-1816
. Basis for the claim: __
Date(s) debt was incurred __
Last 4 digits of account number _ ls the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,800.00
JD Environmental Corp. CI contingent
(2 unliquidated
5014 16th Ave Cl bisputed
Brooklyn, NY 11204-1404
Basis for the claim: __
Date(s} debt was incurred __
Last 4 digits of account number __ Is the claim subject to offset? Eino Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $3,800.00
JD Lead CJ contingent
C1 untiquidatea
1973 52nd St C1 pisputed
Brooklyn, NY 11204-1732
. Basis forthe claim: _
Date(s) debt was incurred __ @
Last 4 digits of account number _ Is the claim subject to offset? No Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $150,000.00
Joe and Sons C1 contingent
. C1) Untiquidatea
145 Main Ave C1 pisputed
Passaic, NJ 07055-5452
. Basis for the claim: __
Date(s} debt was incurred __ =
Last 4 digits of account number _ {s the claim subject to offset? No Clyes
Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 5

Official Form 206 E/F

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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtor 975 Walton Bronx LLC

Case number ¢f known)

 

 

 

 

 

 

 

 

 

Name
3.43 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Leroy Sookdeo Oi contingent
c/o ivan Diamond, Esq. EH Uniiquidated
888 Grand Concourse Ste 1-L. ;
Bronx, NY 10451-2802 = Disputed
Date(s) debt was incurred _ Basis for the claim: __
Last 4 digits of account number __ Is the claim subject fo offset? Hino (Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $22,923.55
Millennium Elevator Enterprises Inc. C1 contingent
qo Uniiquidated
2618 Avenue Z (1 Disputed
Brooklyn, NY 11235-2052
Basis for the claim:
Date(s} debt was incurred __ aSIS TORING crai: _.
Last 4 digits of account number _ is the claim subject to offset? EAno Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Minkoff Locksmith LLC CJ Contingent
g Unliquidated
1704 E 21st St CO disputed
Brooklyn, NY 11210-5038
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number Is the claim subject to offset? Eino Dyes
3.16 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $3,845.00
Mizrahi Law Offices, LLC C] Contingent
(1 Unliquidated
PO Box 3254 (1 pisputea
Teaneck, NJ 07666-9105
. Basis for the claim: __
Date(s} debt was incurred __
Last 4 digits of account number __ Is the claim subject to offset? Eino Clyes
3.47 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $396,951.92
NYC Water Board CJ contingent
C] unliquidated
PO Box 11863 C1 pisputes
Newark, NJ 07101-8163
Basis for the claim:
Date(s) debt was incurred __ ~
Last 4 digits of account number __ Is the claim subject to offset? Hino Clyes
3.18 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Shinelle Sookdeo (2 contingent
clo Rubenstein & Rynecki BF Untiquidated
16 Court St Ste 1717 BE pisputed
Brooklyn, NY 11241-1017 ‘spute
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __ Is the claim subject to offset? Eino Elves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check all that apply. $2,450.00
SR Construction USA Inc. C1 contingent
Di unliquidated
460 Macdonough St#A (2 disputed
Brooklyn, NY 11233-1510
Basis for the claim: _
Date(s) debt was incurred __
Last 4 digits of account number __ ts the claim subject to offset? Fino Clyes
Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of §

Official Form 206 E/F
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Case 1-21-4040 /-JMM

Debtor 975 Walton Bronx LLC

Name
3.20 Nonpriority creditor's name and mailing address
Yardi Systems Inc.

PO Box 82572
Goleta, CA 93118-2572

Date(s) debt was incurred __

Last 4 digits of account number __

 

List Others to Be Notified About Unsecured Claims

Case number (f known)

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As of the petition filing date, the claim is: Check aif thal apply.

O Contingent
Cl Unliquidated
oO Disputed

Basis for the claim: _

is the claim subject to offset? Eno Clyes

$9,708.45

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities {hat may be listed are collection agencies, assignees

of claims listed above, and attorneys for unsecured creditors.

if no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

41 New York State Attorney General
120 Broadway
New York, NY 10271-0002

4.2 NYC Dept of Law
Attn: Bernadette Brennan
100 Church St

On which line in Partt or Part 2 is the
related creditor (if any) listed?

Line 2.3

C1 Notlisted. Explain

Line 2.2

C1] Notlisted. Explain

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Sa. Total claims from Part 1
5b. Total claims from Part 2

Sc. Total of Parts 1 and 2
Lines 5a + Sb = Sc.

Official Form 206 E/F
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Last4 digits of
account number, if
any

 

 

Sa. $ 0.00
Sb. + § 607,915.02
5c. $ 607,915.02

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

Page 5 of §
Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

Debtorname 975 Walton Bronx LLC

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)
(1) Check if this is an
amended filing

 

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
CI No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

& Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
Form 206A/B8).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Constr. Contract to

lease is for and the nature of Remedy Fire Damages
the debtor's interest

State the term remaining

List the contract number of Constr. Contract to Remedy Fire Damages
any government contract

 

 

2.2. State what the contract or Residential and
lease is for andthe nature of Commercial Leases
the debtor's interest

State the term remaining

List the contract number of Residential and Commercial Leases
any government contract

 

 

2.3. State what the contract or Union Collective
lease is for and the nature of | Bargaining
the debtor's interest Agreements

State the term remaining

List the contract number of Union Collective Bargaining Agreements
any government contract

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Debtorname 975 Walton Bronx LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

Case number (if known)
(2) Check if this is an
amended filing

 

 

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

[I No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
EX Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
Schedules D-G. include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
creditor is listed. if the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

Column 1; Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1. Benzion Kohn 106 N Grove #101 Walton Improvement Bp 22
East Orange, NJ 07017 Group LLC Oeser
OG
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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Debtorname 975 Walton Bronx LLC

 

 

United States Bankruptcy Court for the:

Case number (if known)

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 

 

Official Form 206Sum

 

Summary of Assets and Liabilities for Non-Individuals

EI] Check if this is an
amended filing

12/16

 

 

Summary of Assets

1. Schedule A/8: Assets-Real and Personai Property (Official Form 206A/B)

1a. Real property:

Copy line 88 fromSchedule A/B

1b. Total personal property:
Copy line 91A fromSchedule A/B

ic, Total of all property:

Copy line 92 fromSchedule A/B

 

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Copy the total dollar amount listed in Column AAmount of claim, frorn line 3 of Schedule D.

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a oSchedule E/F.

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b cBchedule E/F.

4, Total Wabilities occ eee eaneneesensceceeessersacsesanseevevseesavesvanaesusasaquenseenevacsssesesasacgecacateeetaseessaacaeessesenees

Lines 2 + 3a + 3b

Official Form 206Sum

Summary of Assets and Liabilities for Non-individuals
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g 13-20 million
$ 4,822,797.21

$ 14.8 ~ 21.8 million

$ 23,600,290.00

$ 0.00

+$- 607,915.02

 

$ 24,208,205.02

 

 

 

page 1
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Case 1-21-4040/-jJmmM Docl Filed Od/Zoiz4l Entered Ocico/él 14iolicy

United States Bankruptcy Court
Eastern District of New York, Brooklyn Division

IN RE: Case No.

975 Walton Bronx LLC Chapter 140
Debtor(s)

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of creditors) is true and
correct to the best of their knowledge.

Date: February 24, 2021 /s/ David L. Smith, Esq.
Debtor

 

Joint Debtor

 

Attorney for Debtor
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Benzion Kohn
106 N Grove St # 101
Bast Orange, NJ 07017-4761

Boro Water Services
5713 11th Ave
Brooklyn, NY 11219-4508

Bug A Boo Inc.
PO Box 140337
Staten Island, NY 10314-0337

Correcttemp Inc.
1463 EB 15th St
Brooklyn, NY 11230-6601

Estella Jones

c/o Mitchell Silbowitz, Esq.
25 W 43rd Steet Ste 711

New York, NY 10001
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New York, NY 10128-5348

Internal Revenue Service
Centralized Insolvency Operations
PO Box 7346

Philadelphia, PA 19101-7346

Jacobowitz Newman Tversky LLP
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Cedarhurst, NY 11516-1816

JD Environmental Corp.
5014 16th Ave
Brooklyn, NY 11204-1404

JD Lead
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Brooklyn, NY 11204-1732
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Leroy Sookdeo

c/o Ivan Diamond, Esq.

888 Grand Concourse Ste 1-L
Bronx, NY 10451-2802

Millennium Elevator Enterprises Inc.
2618 Avenue Z
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Minkoff Locksmith LLC
1704 E 2ist St
Brooklyn, NY 11210-5038

Mizrahi Law Offices, LLC
PO Box 3254
Teaneck, NJ 07666-9105

New York State Attorney General
120 Broadway
New York, NY 10271-0002

NYC Dep't of Finance
Legal Affairs

345 Adams St Fl 3
Brooklyn, NY 11201-3719
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NYC Water Board
PO Box 11863
Newark, NJ 07101-8163

NYS Dep't of Taxation
Bankruptcy/Special Procedure
PO Box 5300

Albany, NY 12205-0300

Shinelle Sookdeo

c/o Rubenstein & Rynecki
16 Court St Ste 1717
Brooklyn, NY 11241-1017

SR Construction USA Inc.
460 Macdonough St #A
Brooklyn, NY 11233-1510

Thor 975 Walton Avenue LLC
c/o Joseph Matalon, Esq.
450 7th Ave Fi 33

New York, NY 10123-0083

Walton Improvement Group LLC
5676 Riverdale Ave Ste 307
Bronx, NY 10471-0403

Yardi Systems Inc.
PO Box 82572
Goleta, CA 93118-2572
